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10

11   Attorneys for Defendants City of Vallejo, Officer Dustin B. Joseph,
     Officer Sean G. Kenney and Vallejo Chief of Police Joseph M. Kreins
12
                             IN THE UNITED STATES DISTRICT COURT
13
                                EASTERN DISTRICT OF CALIFORNIA
14

15   JOSEPH L. JOHNSON, an individual,                Case No.: 2:13-CV-01072-JAM-KJN
     CYNTHIA A. MITCHELL, an individual,              (Consolidated with Case No.: 2:13-CV-
16   and as successor-in-interest and personal        02060-JAM-KJN)
     representative of decedent MARIO D.S.M.
17   ROMERO,                                          STIPULATION AND ORDER
                                                      REGARDING CONSENT TO BE BOUND
18                               Plaintiffs,          BY PROTECTIVE ORDER

19   vs.

20   THE CITY OF VALLEJO, a municipality
     and charter city, POLICE OFFICER
21   DUSTIN B. JOSEPH, an individual,
     POLICE OFFICER SEAN G. KENNEY,
22   an individual, VALLEJO CHIEF OF
     POLICE JOSEPH M. KREINS, an
23   individual and DOES 1-5, inclusive,

24                               Defendants.

25
     AND CONSOLIDATED ACTIONS
26

27   ///
28   ///
                                           1
           STIPULATION AND ORDER REGARDING CONSENT TO BE BOUND BY PROTECTIVE
                                        ORDER
            Case 2:13-cv-01072-JAM-KJN Document 23 Filed 04/24/14 Page 2 of 4


 1           On November 25, 2013, pursuant to the Stipulation for Protective Order submitted by

 2   counsel for plaintiffs Joseph Johnson and Cynthia Mitchell and counsel for defendants, the court

 3   issued a protective order in case number 2:13-CV-01072-JAM-KJN (Docket No. 13).

 4           On February 24, 2014, the court issued an order consolidating case number 2:13-CV-01072-

 5   JAM-KJN with 2:13-CV-02060-JAM-KJN for all purposes.

 6           IT IS HEREBY STIPULATED by and between the parties to the consolidated action that

 7   Plaintiffs NXXXXXX RXXXXX, a minor, by and through her guardian ad litem, NATASHA

 8   STEPHENS, individually and Successor in Interest to Decedent MARIO ROMERO; CYNQUITA

 9   MARTIN, individually and as guardian ad litem for DXXXXX MXXXXX, and DXXXXX

10   MXXXXX, both minors,; AHN KHE HARRIS, individually; and AHN LOC HARRIS,

11   individually, by and through their attorneys of record, are bound by the aforementioned Protective

12   Order (Docket No. 13) as if these parties and their attorneys of record had originally stipulated

13   thereto.

14   DATE: April 22, 2014                          THE HALEY LAW OFFICES, P.C.

15

16
                                                   By: /s/ Matthew D. Haley                         .
17                                                        MATTHEW D. HALEY
                                                          FULVIO F. CAJINA
18                                                        Attorneys for Plaintiffs NXXXXXX
                                                          RXXXXX, a minor, by and through her
19                                                        guardian ad litem, NATASHA STEVENS,
                                                          individually and Successor in Interest to
20                                                        Decedent MARIO ROMERO, CYNQUITA
                                                          MARTIN, individually and as guardian ad
21                                                        litem for DXXXXX MXXXXX and DXXXXX
                                                          MXXXXX, both minors, AHN KHE HARRIS,
22                                                        individually, and AHN LOC HARRIS,
                                                          individually
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           STIPULATION AND ORDER REGARDING CONSENT TO BE BOUND BY PROTECTIVE
                                        ORDER
           Case 2:13-cv-01072-JAM-KJN Document 23 Filed 04/24/14 Page 3 of 4


 1   DATE: April 22, 2014               LAW OFFICES OF CATHERINE HALEY

 2

 3
                                        By:     /s/ Catherine Haley
 4                                            CATHERINE HALEY
                                              Attorneys for Plaintiffs NXXXXXX
 5                                            RXXXXX, , a minor, by and through her
                                              guardian ad litem, NATASHA STEVENS,
 6                                            individually and Successor in Interest to
                                              Decedent MARIO ROMERO, CYNQUITA
 7                                            MARTIN, individually and as guardian ad
                                              litem for DXXXXX MXXXXX and DXXXXX
 8                                            MXXXXX, both minors, AHN KHE HARRIS,
                                              individually, and AHN LOC HARRIS,
 9                                            individually

10   DATE: April 22, 2014               CITY OF VALLEJO ATTORNEY

11

12                                            By: /s/ Kelly J. Truijillo
                                                     CLAUDIA QUINTANA
13                                                   KELLY J. TRUJILLO
                                                     Attorneys for Defendants City of
14                                                   Vallejo, Officer Dustin B. Joseph,
                                                     Officer Sean G. Kenney and Vallejo
15                                                   Chief of Police Joseph M. Kreins
16

17
     DATE: April 21, 2014               JONES & DYER
18

19
                                              By: /s/ Mark A. Jones                       .
20                                                  MARK A. JONES
                                                    KRISTEN K. PRESTON
21                                                  Attorneys for Defendants City of
                                                    Vallejo, Officer Dustin B. Joseph,
22                                                  Officer Sean G. Kenney and Vallejo
                                                    Chief of Police Joseph M. Kreins
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        STIPULATION AND ORDER REGARDING CONSENT TO BE BOUND BY PROTECTIVE
                                     ORDER
      Case 2:13-cv-01072-JAM-KJN Document 23 Filed 04/24/14 Page 4 of 4


 1

 2                                  ORDER
 3
       IT IS SO ORDERED
 4
       DATED: April 23, 2014             /s/ John A. Mendez____________
 5                                       John A. Mendez
                                         U. S. DISTRICT COURT JUDGE
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     STIPULATION AND ORDER REGARDING CONSENT TO BE BOUND BY PROTECTIVE
                                  ORDER
